Case 3:19-cr-00001-TJC-PDB Document 132 Filed 02/06/20 Page 1 of 3 PageID 3183




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA               )
                                           )
          v.                               ) CASE NO. 3:19-cr-00001-TJC-PDB
                                           )
    JOHN R. NETTLETON,                     )
                                           )
          Defendant.                       )

                  GOVERNMENT’S UNOPPOSED
       MOTION FOR AN EXTENSION OF THE TIME TO FILE ITS
    RESPONSES TO THE DEFENDANT’S MOTION FOR A JUDGMENT
          OF ACUITTAL AND MOTION FOR A NEW TRIAL

         The United States of America, by and through undersigned counsel,

   respectfully moves for an extension of the time to file its responses to the

   Defendant’s Motion for Judgment of Acquittal Pursuant to Federal Rule of

   Criminal Procedure 29, Dkt. 129, and a Motion for New Trial Pursuant to

   Federal Rule of Criminal Procedure 33, Dkt. 130.         The Government has

   consulted with the Defense and there is no objection to this motion.

         The Defendant’s motions were filed on January 31, 2020 and the

   Government’s responses are therefore due on February 14, 2020. See Local

   Rules for the United States District Court for the Middle District of Florida,

   Rule 3.01(b) (Dec. 1, 2009) (requiring responses to motions to be filed within 14

   days). After reviewing the Defendant’s motions, the Government expects that

   it will need to conduct extensive legal research and a thorough review of the
Case 3:19-cr-00001-TJC-PDB Document 132 Filed 02/06/20 Page 2 of 3 PageID 3184




   trial record in order to prepare appropriate responses to the Defendant’s

   arguments. Given that an extension of the time for filing responses will not

   delay other matters in this case, the Government respectfully requests an

   additional two weeks to file its responses, which will make them due on

   February 28, 2020.

         WHEREFORE, for the reasons discussed herein, the Government

   respectfully requests that this motion be granted and the deadline for the

   Government’s responses be rescheduled to February 28, 2020.

                                  Respectfully submitted,

                                      /s/ Todd Gee
                                  Counsel for the Government
                                  TODD GEE
                                  Deputy Chief, Public Integrity Section
                                  Todd.Gee2@usdoj.gov
                                  PETER M. NOTHSTEIN
                                  Trial Attorney, Public Integrity Section
                                  Peter.Nothstein@usdoj.gov
                                  Criminal Division
                                  U.S. Department of Justice
                                  1331 F Street NW, 3rd Floor
                                  Washington, DC, 20005
                                  Telephone: (202) 514-1412


                                  DATED: February 6, 2020




                                        2
Case 3:19-cr-00001-TJC-PDB Document 132 Filed 02/06/20 Page 3 of 3 PageID 3185




                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this date, I electronically filed the

   foregoing pleading with the Clerk of the Court using the CM/ECF system,

   which will send notification of such filing to the attorneys of record for the

   defendant.


   Dated: February 6, 2020                   /s/ Todd Gee
                                         Todd Gee, Deputy Chief
                                         Peter M. Nothstein, Trial Attorney
                                         Public Integrity Section
                                         Criminal Division
                                         U.S. Department of Justice




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